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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MARK C. SAVIGNAC and
 JULIA SHEKETOFF,

      Plaintiffs,                                         Case No. 1:19-cv-02443-RDM

            v.

 JONES DAY, STEPHEN J. BROGAN,
 and MICHAEL SHUMAKER,

      Defendants.



                                   JOINT STATUS REPORT

       Pursuant to the Court’s Order of October 3, 2024, the parties met and conferred about next

steps in the litigation, including without limitation the approach to addressing the privilege issue

raised in the Court’s September 25, 2024, Memorandum Opinion and Order (“the Opinion,”

publicly filed on October 3, 2024 at Dkt. 247). The parties remain at impasse as to some of the

issues and note below each side’s respective position on these issues.

       1.        Privilege Issue

       Plaintiffs’ position: In its summary judgment ruling, the Court holds that “Defendants have

placed the contents of the December 1993 memorandum [from Dressing to McCartan] at issue.”

Op. 77. While Defendants disagree with that holding, it is indisputable that the holding means that

Defendants have waived any privilege that might otherwise have applied to the memo and that

they therefore must produce it.

       Defendants are entitled to seek reconsideration of the Court’s holding and may seek

mandamus from the D.C. Circuit. Provided that Defendants file any reconsideration motion and/or
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mandamus petition by October 23, 2024 (four weeks from the Court’s ruling), Plaintiffs would

agree that Defendants need not produce the memo until the issue is resolved. Given the potential

for an interlocutory appeal and the need to avoid delay of trial, Plaintiffs respectfully request that

any reconsideration motion be resolved promptly.

       Aside from reconsideration and mandamus proceedings, which are always available,

Plaintiffs object to special further proceedings on this one issue out of the countless ones resolved

in the opinion. Plaintiffs, too, disagree with aspects of the opinion. But Plaintiffs understand that

they will receive no further opportunity to be heard except under the narrow reconsideration

standard—and motions for reconsideration are strongly disfavored under the standing order.

       On this waiver issue, Plaintiffs asserted the glaring at-issue waiver through a lengthy

communication to Defendants demanding the memo and in their summary judgment brief (PMSJ

13-14); Defendants chose to respond with a cursory footnote making two arguments that this Court

has rightly rejected (Defendants’ Reply 5 n.1; Op. 75-79); Plaintiffs rebutted those two arguments

(Plaintiffs’ Reply 7 & n.5-6); and the issue dominated the hearing on summary judgment, giving

Defendants ample additional opportunity to be heard, to the exclusion of many issues where the

Court ruled against Plaintiffs without discussion at the argument (Tr. 5-15, 29-34, 49-56). There

is no basis to give Defendants special treatment by reopening this one issue, which Defendants

made a strategic decision not to seriously contest in their brief.

       Plaintiffs especially object to ex parte discussions between Defendants and the Court,

which would violate fundamental notions of due process with no justification.               Whether

Defendants put Dressing’s advice to McCartan at issue is a legal question whose answer does not

turn on the details of that advice, much less on Dressing’s self-serving interpretation of it three

decades later (and the Court has already observed that her current testimony “arguably conflict[s]”




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with what she actually said). Op. 78-79. Defendants want Dressing to explain to the Court that,

“properly understood” (by contrast to how the Court understands it, Op. 78-79), “the Memo neither

explicitly addresses, nor implicitly sheds light on, Dressing’s reasons for selecting a disability

period of eight weeks.” Defendants are entitled to argue over how to read the memo, but such

arguments must be made consistent with the basic premises of our adversarial system.

       Finally, Plaintiffs understand that the waiver does not extend to material that has no bearing

on Dressing’s advice to McCartan regarding leave for new parents. But it is implausible that that

any of the memo is irrelevant to that (whether or not it can be viewed as “pure legal analysis”).

       Defendants’ position: Defendants maintain that they have not waived attorney-client

privilege over the Memo. This Court suggested that “[b]y centering its non-discriminatory

rationale defense on the advice Dressing provided to McCartan, Defendants have placed the

contents of the December 1993 memorandum at issue.” (Dkt. 247 at 77). That suggestion was

premised on this Court’s impression, based on an ex parte review, that the Memo “does shed light

on the business recommendation that Dressing made to McCartan regarding the policy change and

the respective benefits provided to female and male associates.” (Id. at 78). This Court clarified,

however, that it was “reluctant to disclose the contents of an assertedly privileged document in this

context and without providing the parties with a further opportunity to be heard.” (Id. at 79).

       Defendants respectfully request a further opportunity to be heard on this matter. As this

Court recognized, Plaintiffs’ assertion of a privilege waiver was “only briefly addressed” in the

summary-judgment briefing, as “the objection was not raised during discovery.” (Id. at 78-79).

Notably, this issue was only briefly addressed in the briefing because it had not been raised by

Plaintiffs until after Defendants filed their motion for summary judgment. In light of the tentative




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views expressed in this Court’s opinion, there are both legal and factual issues that warrant further

development and consideration.

       First, the parties should submit short, five-page briefs on the legal standard for an at-issue

waiver of privilege. Defendants respectfully submit that their having placed at issue Dressing’s

business reasons for recommending an eight-week disability period does not waive privilege over

the Memo because it does not place at issue Dressing’s legal advice in the Memo (whether or not

the Memo also sheds light on Dressing’s business reasons). The court’s contrary suggestion, based

on inapposite cases, would have significant implications for privileged communications to a

decisionmaker whenever the decisionmaker’s intent was at issue.

       Second, if necessary after reviewing the briefing, this Court should hold an ex parte

conference where it can hear directly from Dressing about the scope and meaning of the Memo.

Defendants respectfully submit that, properly understood, the Memo neither explicitly addresses,

nor implicitly sheds light on, Dressing’s reasons for selecting a disability period of eight weeks

rather than some lower amount. As we noted in our October 17, 2023, email submitting the Memo

for in camera review, Judge Faruqui previously used an ex parte conference to obtain additional

context about privileged documents, and the same approach would be appropriate here—especially

since Plaintiffs chose not to depose Dressing. After all, if the Memo is in fact silent on Dressing’s

business reasons for selecting an eight-week period, then its contents not only remain privileged

but are entirely irrelevant: Jones Day’s reason for selecting an 8-week period is the only legally

material question left on this claim, given this Court’s holding that an 8-week period is facially

lawful and permissible if adopted for nondiscriminatory reasons. (Dkt. 247 at 67).

       Alternatively, even if this Court ultimately reaffirms its view that an at-issue waiver has

occurred warranting production of a larger portion of the Memo, Defendants respectfully submit




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that significant portions of the memo should still remain privileged because those portions address

topics unrelated to the length of the disability period. At minimum, Defendants request the

opportunity to submit for ex parte review another redacted version of the Memo, which would

leave redacted the pure legal analysis of the Firm’s then-existing policies, the requirements of the

FMLA, and potential claims under other federal statutes—none of which is remotely relevant to

the remaining question of the selection of the 8-week postpartum disability period, and none of

which has been put at issue by Defendants’ defense of that period.

       2.      Damages Discovery

       The parties agree that a period of time for damages discovery is necessary. They also agree

that the damages discovery period will necessitate both additional document production and

depositions related to the question of: (a) whether Mark Savignac would have been promoted to

partner; (b) potential backpay damages for Mr. Savignac; and (c) evidence of Mr. Savignac’s

mitigation. Without waiving any objections that Plaintiffs may have to the actual language of a

third-party subpoena to Steptoe & Johnson, the parties agree in principle on the need for third-

party discovery from Steptoe & Johnson about Mr. Savignac’s reviews, compensation, likelihood

of promotion to partner and the reasons why he has not been made partner. The parties do not

agree regarding the availability of front pay, and the scope of discovery necessary to assess

backpay. Assuming that Plaintiffs maintain their prior “representation that the plaintiffs will not

waive the psychotherapist privilege and that they will accept whatever limitations come with that

with respect to the types of damages they seek in this case,” Defendants will not pursue discovery

related to mental health treatment for such alleged emotional distress. See 01.31.2022 Tr. at 55:19-

25.




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       Plaintiffs’ position: Plaintiffs propose the following damages discovery schedule:

                 October 25, 2024                    Fact discovery opens
                 January 25, 2025                    Close of document discovery
                 March 25, 2025                      Close of fact depositions
                 April 25, 2025                      Exchange of expert reports
                 May 27, 2025                        Exchange of expert rebuttal reports
                 June 27, 2025                       Close of expert depositions

       Discovery cannot be anticipatorily limited to the matters that Defendants list below. To

the contrary, in pausing damages discovery pending the ruling on summary judgment, the Court

acknowledged that if Plaintiffs defeated summary judgment, they would be entitled to argue for

“make whole compensation” (backpay and front pay) based on Jones Day partnership. 09.09.2021

Tr. 21-23, 40. For example:

   •   Plaintiffs are entitled to discovery to show that Mark would have made partner at Jones
       Day and when, including showing where Jones Day sets the bar for promotion to partner
       and whether Mark would have passed that bar. There is no basis for limiting this to the
       self-serving testimony of Defendants’ attorney, as Defendants appear to propose. At a
       minimum, appropriate discovery will include (1) documents relevant to partnership
       promotions for associates in Jones Day’s DC office in 2020 and surrounding years (which
       is necessary both to confirm Plaintiffs’ position that all Supreme Court clerks who remain
       at Jones Day until becoming eligible are promoted and because decisions from 2019
       onward may have been tainted by Defendants’ awareness of this suit); (2) documents
       showing how Mark was viewed by relevant Jones Day partners prior to his termination;
       and (3) documents and depositions of actual decisionmakers.

   •   Plaintiffs are entitled to evidence sufficient to show what Mark’s compensation would have
       been but for the discrimination, including following promotion to partner, which Plaintiffs
       believe would have occurred when Mark became eligible on January 1, 2021. Assuming
       judgment is entered in late 2025, this will include around five years of backpay (which is
       practically mandatory) as a partner plus an appropriate period of front pay in lieu of
       reinstatement should the Court decline to order reinstatement. E.g., Dkt. 72 at 1.

       Plaintiffs have no interest in litigating for more information than is necessary to support
       requests for appropriate backpay and front pay, and Plaintiffs welcome the Court’s
       guidance on the appropriate scope of discovery. At a minimum, however, Plaintiffs need
       compensation information (e.g., pay figures and how they were set) for other DC attorneys
       in the Issues & Appeals group who were promoted to partner effective in 2017-2023.
       Information on partners promoted somewhat earlier than 2020 is necessary, including
       because (1) Plaintiffs are entitled to argue that Mark would have been paid more than the
       three particular DC Issues & Appeals associates who made partner effective 2021;
       (2) Plaintiffs are entitled to seek front pay for years following entry of final judgment, and


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       data for partners further along the pay curve is directly relevant to that; (3) Defendants’
       decisions from 2019 on were likely affected by their knowledge of Plaintiffs’ claim for
       partner backpay and front pay in this case; and (4) Plaintiffs are entitled to a sample size
       large enough to rebut arguments that their request is too speculative.

       As the Court noted when staying damages discovery several years ago, Defendants have
       the power to obviate the need for litigation over and discovery into the details of partner
       compensation through an appropriate stipulation—e.g., a stipulation that Mark would have
       been paid the top compensation that Jones Day offers to D.C. Issues & Appeals partners at
       each given year of partnership seniority. Plaintiffs welcome proposals for stipulations that
       could streamline discovery and litigation over these matters.

   •   Plaintiffs are entitled to evidence bearing on how long attorneys in the Issues & Appeals
       group generally remain at Jones Day after being promoted to partner, which the D.C.
       Circuit has said is important in determining front pay.

   •   Plaintiffs are entitled to evidence relevant to punitive damages, including evidence of
       Defendants’ financial resources, as discussed in prior briefing. E.g., Dkt. 72 at 39-43.

       Defendants’ position:      Defendants assert that the remaining damages discovery can be

completed by April 30, 2025, including the seeking of documents and testimony through a third-

party subpoena of Steptoe & Johnson. In terms of the scope of discovery, Defendants assert that

discovery should include:

                      (a) Supplementing associate review and compensation information for

                            Issues & Appeals associates for January 2021 through 2024 (in the same

                            detail as previously provided for 2014-2020);

                      (b) A Rule 30(b)(6) deposition of Traci Lovitt regarding the promotional

                            standards and the relevant process of counseling out associates deemed

                            unlikely to make partner;

                      (c) Documents and testimony from Steptoe & Johnson regarding Mr.

                            Savignac’s performance reviews, compensation, and likelihood of

                            making partner; and




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                       (d) The deposition of Plaintiffs regarding their claimed damages and efforts

                           to mitigate same, including Mr. Savignac’s future career plans.

               As the Court is aware, the Firm maintains strict confidentiality regarding

       partnership compensation. In recognition of the confidentiality concerns, the Court

       previously indicated that any production of partnership compensation data could be limited

       to compensation ranges and ranges of those likely to be comparators. 09.09.2021 Tr. at

       10:14-14:17, 40:4-41:5. For example, the compensation of a senior partner or even a newly

       admitted partner with decades of experience (such as a former partner returning from

       government service) would not be relevant to Mr. Savignac’s potential damages. At

       earliest, even by his own assertion, Mr. Savignac would have become a partner effective

       January 1, 2021. Accordingly, if the Court determines that partnership compensation data

       should be produced, Defendants respectfully request the opportunity to confer with the

       Court regarding the provision of compensation ranges for a subset of new partners

       promoted effective January 2021, 2022 and 2023.

       3.      Remaining Schedule

       In order to secure a trial date and set appropriate deadlines for pre-trial submissions, the

parties request the opportunity to discuss available trial dates with the Court at the upcoming

conference.

       Plaintiffs’ position: Plaintiffs request a trial date in fall 2025, but at least 90 days after the

end of damages discovery to allow time for motions in limine, proposed jury instructions, etc.

       Defendants’ position: Defendants request a trial date in the summer or fall of 2025.

Defendants anticipate that the trial will last two weeks. We will confer with our key witnesses

regarding their availability and be prepared to discuss specific trial dates at the conference.




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Respectfully submitted,                                             October 11, 2024



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